Case: 3:14-cv-00147-wmc Document #: 373-2 Filed: 10/12/15 Page 1 of 9




                 EXHIBIT B
      Case: 3:14-cv-00147-wmc Document #: 373-2 Filed: 10/12/15 Page 2 of 9



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WISCONSIN

This Document Relates to:

Boyer v. Weyerhaeuser Company, et al.                                     CASE NO. 14-cv-286
Masephol v. Weyerhaeuser Company, et al.                                  CASE NO. 14-cv-186
Pecher v. Weyerhaeuser Company, et al.                                    CASE NO. 14-cv-147
Sydow v. Weyerhaeuser Company, et al.                                     CASE NO. 14-cv-219

                  DECLARATION OF JAMES S. JOHNSON PhD, CIH, QEP
             IN REBUTTAL TO THE SECOND AFFIDAVIT OF PHILLIP EIZTMAN

                I, JAMES S. JOHNSON PhD, CIH, QEP, declare as follows:

                1.      My background, education, work history and qualification have been set

forth in an early declaration in this case.

                2.      I have been asked comment on the Second Affidavit of Philip Eitzman

dated September 17, 2015. All references to paragraphs below refer to Eitzman’s Second

Affidavid.

                3.      Paragraph 4 thereof asserts that the 3M 8710 respirator maintained

uninterrupted NIOSH certification based on its established compliance with the law. I disagree.

In my previous Expert Reports, Declaration and items addressed in this Rebuttal, I present

reasons why 3M was not in compliance with the law (NIOSH certification/approval regulations)

for the 3M 8710 respirator and if this information had been provided to NIOSH the 8710

respirator approval would have been withdrawn until compliance was properly demonstrated.

                4.      Paragraph 5 thereof asserts that pressure drop does not lead to face seal

leakage. I disagree based on my comments made in my Declaration in Rebuttal to the Second

Weber Affidavit.
     Case: 3:14-cv-00147-wmc Document #: 373-2 Filed: 10/12/15 Page 3 of 9



              5.      I disagree with the conclusion drawn by Eitzman in his paragraph 6

regarding the Nancy Bollinger Memo re “Audit of the 3M 8710 respirator”, dated November 12,

1980 (Exhibit B to 2nd Eitzman affidavit).

              (a)     What is clearly lacking from 3M in response to this audit finding is the

       reporting of 3M’s ongoing inhalation and exhalation manufacturing problems with the

       3M 8710 respirator. The communication by 3M of these types of problems to NIOSH is

       clearly required by 30 CFR Part 11. (Ex. 27, 30, 39)

              (b)     Bollinger notes in Exhibit B that additional respirators should be

       purchased and evaluated to see how prevalent the problem is. The fact that 3M didn’t

       communicate their manufacturing problems with inhalation and exhalation pressure drop

       at this time to NIOSH or call to Miss Bollinger’s attention the undated memo to file of

       Mr. Robert Schutz (Exhibit C to Eitzman 2nd Affidavit) clearly illustrates the violation of

       the approval process.


              6.      The information noted in paragraph 7 by Eitzman is incomplete and

draws the wrong conclusions from Exhibit C (Eitzman 2nd affidavit).

              (a)     The 3M internal field letter by E. D. Horne to D. J. MacDonald (Ex. 26)

       provides the correct background and context on how the Schutz memo (Exhibit C to

       Eitzman 2nd affidavit) should be interpreted. The first paragraph of Exhibit 26 concludes

       that as a result of a NIOSH audit in April 1975, the current 3M 8710 could not meet the

       certification requirements for the final inhalation and exhalation pressure drop

       requirements. Knowing this and evidently not providing this information to NIOSH, 3M

       started negotiations. On a visit to 3M, Pat Gussey, Head of the Respirator Testing at




                                               -2-
Case: 3:14-cv-00147-wmc Document #: 373-2 Filed: 10/12/15 Page 4 of 9



 Morgantown agreed to test “1972 product history samples” on the Morgantown silica

 dust test apparatus. Exhibit 26, second paragraph.

        (b)     Exhibit C (Eitzman 2nd Affidavit) Mr. Schutz noted “as a result of silica

 dust tests on the 3M 8710 respirator conducted in the spring of 1975, 3M was advised

 that their 8710 respirator failed to meet applicable silica dust requirements. This was

 confirmed through further testing.” This is a clear reference to the April 1975 audit

 mentioned in Exhibit 26 and the need for further testing. It is clear that the testing of the

 “1972 product history samples” produced the results he refers to as “confirmed through

 further testing” in his second sentence. Schutz then noted there were humidity concerns

 with the move of the silica dust chamber to Morgantown and a new humidity operating

 range was recommended of 40 to 60% relativity which is still in the regulatory range of

 20 to 80 percent, Exhibit 26 item (1 & 4). Mr. Schutz also noted in the undated Exhibit C

 that 3M indicated they were redesigning the 3M 8710 respirator (8710H) to meet the new

 criteria. Schutz also noted that the 3M 8710 respirator meets the criteria under which it

 was approved and no further action will be taken at this time. Eitzman extracts from this

 letter that NIOSH was aware of the pressure drop issues. This is not the rest of the story.

 The only thing NIOSH knew was due to a change in location of the silica dust chamber

 there were pressure drop issues with the 3M 8710 respirators. As noted in Exhibit 26,

 item (2), 3M assured NIOSH they were making the same respirator as was originally

 being tested which was not true.

        (c)     3M also requested that NIOSH have their QC people keep this pressure

 drop information from 3M’s competitors who would understand the problems and

 especially from their trade organization ISEA. It is my opinion that this meeting where




                                          -3-
     Case: 3:14-cv-00147-wmc Document #: 373-2 Filed: 10/12/15 Page 5 of 9



       3M was not forthright with NIOSH permitted 3M to continue to cover up their 3M 8710

       respirator approval problems.

               (d)    Exhibit 26 item (7) states “we hope to submit the 8710H product in late

       July for certification”. Exhibit 26 item (8) revealed (1) 3M’s clear understanding that the

       3M 8710 and 8710H had problems with the final pressure requirements and (2) Mr.

       Schutz of NIOSH expected the silica dust test values to be met.

               7.      In paragraph 8 Eitzman discusses quality control plan classifications of

respirator defects. He contends breathing resistance (which causes facial leakage) is Major B,

rather than Major A. These specific categories are in 30 CFR Part 11 and were included in the

quality control program that 3M submitted to NIOSH and was approved then becoming part of

the approval requirements. (Exs. 1, 39, 49).         Eitzman contends that pressure or breathing

resistance of a respirator such as the 3M 8710 respirator was detectable by the user, thus he

contends breathing resistance and pressure drop is a major B characteristic. Eitzman presents no

evidence or references to support his claim that the pressure drop or breathing resistance of the

3M 8710 respirator is detectable by the user. I am aware of no published studies that address this

subject for the 3M 8710 respirator. The exhibits referenced above conflict with Dr. Eitzman’s

contention and clearly shows 3M recognized pressure drop as a Major A defect and 3M was

selling 3M 8710 respirators that didn’t comply with NIOSH quality control approval

requirements. (Exs. 15, 39).

               8.     In paragraph 9, Eitzman makes the general statements that “3M engaged

in an ongoing process to calibrate its own test machines to NIOSH machines to achieve

consistent, reliable results. 3M’s purpose in this process was to conform to NIOSH requirements

not evade them.” Internal 3M correspondences do not support these statements and in fact the




                                               -4-
      Case: 3:14-cv-00147-wmc Document #: 373-2 Filed: 10/12/15 Page 6 of 9



available information reflects just the opposite. There is no correspondence I am aware of that

indicates any development information or 3M changes to their silica dust apparatus or the DOP

test apparatus were shared with NIOSH. And none is presented by 3M.

                9.      The statement made by Eitzman in paragraph 10 is not backed up with any

reference material. He claims “in the early 1970s manufacturers of NIOSH approved respirators

began to use dioctyl phthalate (DOP) aerosol in testing respirators as a substitute for the silica

dust test in their quality control plans.” I am aware of only one manufacturer, 3M who received

approval to use it as a surrogate for the silica dust test.

                10.     In paragraph 11, Eitzman states that NIOSH directly or through its

consultants suggested that 3M should correlate a DOP-based test to the silica dust test and use

the DOP in lieu of (or as a surrogate for) the silica dust test. I have seen no correspondence that

indicates NIOSH was involved in the initial decision process rather it was 3M that initiated this

approach.

                11.     In paragraph 12 and 13, Eitzman again notes that “3M was not required to

conduct silica dust testing of the 3M 8710 respirator except as required for extensions of NIOSH

approval deemed to require filter performance data.”          He also notes that there was no

requirement for 3M to follow 30 CFR Part 11 after 1972, but he provides no supporting back up

reference material. Eitzman’s contention that there was no requirement to follow NIOSH silica

dust regulations is incorrect because 3M was responsible to demonstrate their DOP /silica dust

correlation was still valid. 30 C.F.R. § 11.34 (Ex. 1); Ex. 20.

                12.     In paragraph 14 Dr. Eitzman attempts to dismiss all of the internal

correspondence and meetings that pointed out problems with the 3M 8710 respirator

manufacturing processes, meeting NIOSH certification requirements, criticizing the DOP test




                                                   -5-
      Case: 3:14-cv-00147-wmc Document #: 373-2 Filed: 10/12/15 Page 7 of 9



and changing pass/fail correlations, issues with the silica dust test, correlations of multiple silica

dust chambers, etc. He notes, “These discussions did not address the correlation between the

DOP test and the silica dust test conducted for the original product approval.” What Eitzman

fails to recognize is the responsibility of 3M to meet the requirements and conditions under

which the 3M 8710 respirator was approved and if not inform NIOSH of the issue/problem.

               13.     In paragraph 15, Eitzman takes exception with the interpretation of

Exhibit 14 that clearly points out in 1973 a major manufacturing problem and states:

“Production is currently gambling by using this web in full production.” This unidentified

problem is clearly impacting the production of an acceptable slit web that can meet the required

pressure drop specification for the manufacture of the 3M 8710 respirator.

               14.     I have reviewed Eitzman’s paragraph 16 wherein he discusses paragraphs

51-61 in Ms. Segawa’s Proposed Findings of Fact as well as Plaintiff Exhibits 15-19 and I find

the issues identified in these exhibits as major.

               (a)     Eitzman notes these as temporary production issues that were resolved. To

       the contrary, 3M by excluding NIOSH in all of these issues violated their quality

       assurance plan for the 3M 8710 respirator approval and there is no documentation of how

       each process problem identified was resolved or if it was resolved.

               (b)     Exhibit 15’s statement that the DOP “correlation is no longer valid” is

       clearly a significant event that would indicate the product wasn’t meeting NIOSH

       approval parameters and the process should have been shut down until corrected and the

       problem(s) brought to NIOSH’s attention.




                                                    -6-
     Case: 3:14-cv-00147-wmc Document #: 373-2 Filed: 10/12/15 Page 8 of 9



               15.    In paragraph 17, Eitzman comments on exhibits 21 and 22 of Ms.

Segawa’s Proposed Findings of Fact. Clearly 3M had major manufacturing problems with

making the 3M 8710 respirators comply with the NIOSH quality assurance requirements.

               (a)    On January 16, 1975 Don Wilmes (Ex. 21) changed the acceptable limits

       for the three web laminates and the finished mask (3M 8710 respirator). With the

       instructions that the limits are in effect beginning 1-20-75 and will be reviewed after 30

       days based on the results of his audits and waste levels.

               (b)    There is no evidence that NIOSH was informed on these major production

       issues and changes, a clear violation of the quality control plan and 3M was content with

       selling respirators that met the modified DOP test but failed the silica dust test.

               16.    In paragraph 18, Eitzman identified the results reported in the various

letters (Ex. 28-31, 33-37) ranging from June of 1975 to through December of 1977 as the result

of NIOSH changes to the silica dust testing chamber and not major design flaws and other

process changes with the 3M 8710 respirator. This excuse is a totally bogus reason that 3M has

used during this time period and clearly Mr Schutz didn’t identify any significant changes and

expected 3M to meet the silica dust test requirements as I noted in paragraph 6(d)(2). In the five

letters, exhibits 15-19 I identified in paragraph 14, 3M was clearly having manufacturing

problems that should have been reported to NIOSH.

               17.    In paragraph 19, Eitzman states plaintiffs misunderstand Exhibit 39.

He notes that NIOSH approved 3M’s use of the DOP test as a substitute for the silica dust test.

This approval was based on a specific data set that provided a correlation of the silica dust and

DOP test results for 3M 8710 respirators manufactured at that time. As with any other part of the

approval process for the 3M 8710 respirator any changes to the NIOSH approved correlation




                                                -7-
Case: 3:14-cv-00147-wmc Document #: 373-2 Filed: 10/12/15 Page 9 of 9
